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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

Plaintiff,

v. Civil Action No. -2:93cv902

The Wrecked and Abandoned
Vessel, .. .believed to be
the RMS TITANIC, in rem,

Defendant.
PERIODIC REPORT OF R.M.S, TITANIC, INC,

ON THE PROGRESS OF RESEARCH AND
RECOVERY OPERATIONS

NOW COMES Plaintiff R.M.S. Titanic, Inc. (“RMST” or the “Company”), by counsel,
and files this “Periodic Report of R.M.S. Titanic, Inc. on the Progress of Research and Recovery
Operations” (“Periodic Report”).

I. Bankruptcy Proceedings.

In order to assist the Court with its review of RMST’s pending Motion to Approve Asset
Purchase Agreement and Authorize the Sale of 100% of RMST’s Stock to Premier Acquisition
Holdings LLC or Other Qualified Purchaser as Approved by the Bankruptcy Court (Dkt. No,
447), RMST provides the following information, that has been requested by the United States:

' 1, Information on the bank account where the Reserve Fund is deposited (Exhibit
A);
2, Information on the bank account for the safe deposit box holding the Titanic

artifacts of curreney and coins (Exhibit B);

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3, A list of RMST’s permanent exhibition venues and the contact person for each

(Exhibit C),

In order to protect the confidentiality of the bank account information, Exhibits A and B

are filed under seal. A Motion to Seal and related pleadings are being filed for those Exhibits,

WHEREFORE, RMST submits this Periodic Report for the Court’s information and

consideration.

Counsel:

Robert W. McFarland (VSB #24021)
McGuire Woods LLP

9000 World Trade Center

Norfolk, VA 23510

757/640-3716

Brian A, Wainger (VSB #38476)
Kaleo Legal

4456 Corporation Lane, Suite 135
Virginia Beach, VA 23462
757/965-6804

/s/

Robert W. McFarland

Respectfully submitted,
R.M.S. TITANIC, INC.

By Counsel

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CERTIFICATION

Thereby certify that the foregoing has been electronically filed through the Court’s ECF
system this 15th day of November, 2018.

/s/
Robert W. McFarland (VSB #24021)
McGuire Woods LLP
9000 World Trade Center
Norfolk, VA 23510
Tele: 757/640-3716
Fax: 757/640-3966
Email: rmcfarland@meguirewoods.com

